Case 3:19-cr-00017-GMG-RWT Document 308 Filed 01/24/20 Page 1 of 7 PagelD #: 1040

Case 3:19-cr-00017-GMG-RWT Document 286 Filed 01/08/20 Page 1of7 PagelD #: 943

FILED
JAN 98 2020

SOURT-WVND
§. DISTRICT CO cot

MARTINSBURG,

 

United States Department of Justice

William J. Powell

United States Attorney

United States Attorney’s Office
Northern District of West Virginia

 

Kirk H. Bottner, Esq.
P.O. Box 344
Charles Town, WV 25414

In re: United States v. Allen Craig,
Criminal Action No.: 3:19-CR-17

Dear Mr. Bottner:

W. Craig Broadwater Federal Building

217 West King Street Phone: (304) 262-0590
Suite 400 Fax: (304) 262-0591
Martinsburg, WV 25401

January 2, 2020

E FILED
JAN 2 4 2020

U.S. DISTRICT COURT-WVN
MARTINSBURG, Wv 25401,

This will confirm conversations with you concerning your client, Allen Craig, (hereinafter
referred to as “Defendant”). All references to the “Guidelines” refer to the guidelines established
by the United States Sentencing Commission, effective November |, 1987, as amended.

It is agreed between the United States and your client as follows:

1. Defendant will plead guilty to Count One of the Indictment, Conspiracy to Possess
with Intent to Distribute and to Distribute Heroin, Fentanyl, Cocaine Hydrochloride, and Cocaine
Base, in violation of Title 21, United States Code, Sections 846, and 841(b)(1)(C).

2 The maximum penalty to which Defendant will be exposed by virtue of his guilty
plea, as stated in paragraph one above is: imprisonment for a period of twenty (20) years, a fine
of $1,000,000, and a term of at least three (3) years of supervised release.

It is further understood by Defendant that there is a special mandatory assessment of
$100.00 (18 U.S.C. § 3013) per felony conviction which must be paid within 40 days following
entry of his plea by money order or certified check to the United States District Court. It is also

a GA
Allen Craig, Defendant

LAE Ag
Kirk Bottner,ésq”

 

 

£2 Boro
Date

[: 2: B¢e
Date
Case 3:19-cr-00017-GMG-RWT Document 308 Filed 01/24/20 Page 2 of 7 PagelD #: 1041

Case 3:19-cr-00017-GMG-RWT Document 286 Filed 01/08/20 Page 2 of 7 PagelD #: 944

understood that Defendant may be required by the Court to pay the costs of his incarceration,
supervision, and probation.

3. Defendant will be completely forthright and truthful with regard to all inquiries
made of him and will give signed, sworn statements and grand jury and trial testimony relative
thereto. Defendant will agree to submit to a polygraph examination if requested to do so by the
United States Attorney’s Office for the Northern District of West Virginia.

4, A. Nothing contained in any statement or any testimony given by Defendant,
pursuant to paragraph three, will be used against him as the basis for any subsequent
prosecution. It is understood that any information obtained from Defendant in
compliance with this cooperation agreement will be made known to the sentencing
court; however, pursuant to Guideline 1B1.8, such information may not be used by
the Court in determining Defendant’s applicable guideline range.

B. This agreement does not prevent Defendant from being prosecuted for any
violations of other Federal and state laws he may have committed should evidence
of any such violations be obtained from an independent legitimate source, separate
and apart from that information and testimony being provided by him pursuant to
this agreement.

C. In addition, nothing contained in this agreement shall prevent the United States
from prosecuting Defendant for perjury or the giving of a false statement to a
federal agent, if such a situation should occur by virtue of his fulfilling the
conditions of paragraph 3 above.

5. At final disposition, the United States will advise the Court of Defendant’s
forthrightness and truthfulness, or failure to be forthright and truthful, and ask the Court to give
the same such weight as the Court deems appropriate. At sentencing, the United States will move
to dismiss the remaining counts of the Indictment against Defendant.

6. There have been no representations whatsoever by any agent or employee of the
United States, or any other law enforcement agency, or Defendant’s counsel as to what the final
disposition in this matter should and will be. This agreement includes nonbinding
recommendations by the United States, pursuant to Rule 11(c)(1)(B); however, Defendant
understands that the Court is not bound by these sentence recommendations, and that Defendant
has no right to withdraw a guilty plea if the Court does not follow the sentencing recommendations
set forth in this plea agreement.

 

 

 

 

AC
Cu A— / 7@ ABAe
Allen Craig, Defendant Date
KK LO (-2- Z0Z0
Kirk ‘Bottner, Eeq.” Date
Case 3:19-cr-00017-GMG-RWT Document 308 Filed 01/24/20 Page 3 of 7 PagelD #: 1042

Case 3:19-cr-00017-GMG-RWT Document 286 Filed 01/08/20 Page 3 of 7 PagelD #: 945

7. The United States will make the following nonbinding recommendations:

A. If, in the opinion of the United States Attorney’s Office, Defendant
accepts responsibility and if the probation office recommends a two-
level reduction for “acceptance of responsibility,” as provided by
Guideline 3E1.1, then the United States will concur in and make such
recommendation;

B. Should Defendant give timely and complete information about his
own criminal involvement and provide timely notice of his intent to
plead guilty, thereby permitting the United States to avoid trial
preparation and if he complies with all the requirements of this
agreement, and if Defendant is eligible under the “Guidelines”,
then United States will recommend an additional one level reduction,
so long as Defendant executes the plea agreement on or before
January 9, 2020 at 5:00 p.m. and returns an executed copy to the
United States by that day; and

C. The United States will recommend that any sentence of incarceration
imposed should be at the low end of the applicable guideline range.

8. If in the opinion of the United States, Defendant either engages in conduct defined
under the Applicable Notes of Guideline 3C1.1, fails to cooperate as promised, or violates any
other provision of this plea agreement, then the United States will not be bound to make the
foregoing recommendations, and the Defendant will not have the right to withdraw the plea.

9, Pursuant to Sections 6B1.4, 1B1.3, and 2D1.1 of the Guidelines, the parties hereby
stipulate and agree that the total drug relevant conduct of the Defendant with regard to the
Indictment is 6.07 grams of cocaine base and 0.3290 grams of cocaine hydrochloride. The
parties understand that pursuant to Section 6B1.4(d), the Court is not bound by the above
stipulation and is not required to accept the same. Defendant understands and agrees that should
the Court not accept the above stipulation, Defendant will not have the right to withdraw his plea

of guilty.

10. Defendant is aware that 18 U.S.C. § 3742 affords a Defendant the right to appeal
the sentence imposed. Acknowledging this, and in exchange for the concessions made by the
United States in this plea agreement, Defendant waives the following rights:

A. Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any other
statute or constitutional provision, to appeal the Defendant’s conviction on any

 

Gila Lat fy / 2"Ss 2
Allen Craig, Defendant Date ,
i a [:2-22.20

 

Kirk Bottner, Esq. CY Date
Case 3:19-cr-00017-GMG-RWT Document 308 Filed 01/24/20 Page 4 of 7 PagelD #: 1043

Case 3:19-cr-00017-GMG-RWT Document 286 Filed 01/08/20 Page 4 of 7 PagelD #: 946

ground whatsoever. This includes a waiver of all rights to appeal the Defendant’s
conviction on the ground that the statute(s) to which the defendant is pleading
guilty is unconstitutional, or on the ground that the admitted conduct does not fall
within the scope of the statute(s).

B. The Defendant knowingly and expressly waives all rights conferred by 18 U.S.C.
§ 3742 to appeal whatever sentence is imposed (including any fine, term of
supervised release, or order of restitution) for any reason (including the
establishment of the advisory sentencing guidelines range, the determination of the
defendant’s criminal history, the weighing of the sentencing factors, and any
constitutional challenges to the calculation and imposition of any term of
imprisonment, fine, order of forfeiture, order of restitution, and term or condition
of supervised release).

C.. To challenge the conviction or the sentence which is within the maximum provided
in the statute of conviction or the manner in which it was determined in any post-
conviction proceeding, including any proceeding under 28 U.S.C. § 2255.

Nothing in this paragraph, however, will act as a bar to Defendant perfecting any legal
remedies he may otherwise have on appeal or collateral attack respecting claims of ineffective
assistance of counsel or prosecutorial misconduct. Defendant agrees that there is currently no
known evidence of ineffective assistance of counsel or prosecutorial misconduct.

This waiver of appellate rights is not intended to represent the Defendant’s estimation of
what an appropriate or reasonable sentence would or should be. Nor does this waiver of rights
prevent Defendant from arguing for a sentence below the aforementioned adjusted advisory
Guideline offense level at sentencing. The United States waives its right to appeal any sentence
within the applicable advisory Guideline range. Both parties have the right during any appeal to
argue in support of the sentence.

Il. The United States reserves the right to provide to the Court and the United States
Probation Office, in connection with any presentence investigation that may be ordered pursuant
to Rule 32(c) of the Federal Rules of Criminal Procedure, or in connection with the imposition of
sentence should the Court, pursuant to Rule 32(c)(1), not order a presentence investigation,
relevant information, including information regarding Defendant’s background, criminal record,
the offense charged in the Indictment and other pertinent data appearing at Rule 32(c)(2) of the
Federal Rules of Criminal Procedure, as will enable the Court to exercise its sentencing discretion.
The United States also retains the right to respond to any questions raised by the Court, to correct
any inaccuracies or inadequacies in the anticipated presentence investigation report to be prepared

Tee Bean **

 

 

 

Allen Craig, Defendant Date
AEE egg — ¢° 2- Z0g0
Kirk Bottner, Esq 7 Date
Case 3:19-cr-00017-GMG-RWT Document 308 Filed 01/24/20 Page 5 of 7 PagelD #: 1044

Case 3:19-cr-00017-GMG-RWT Document 286 Filed 01/08/20 Page 5 of 7 PagelD #: 947

by the Probation Office of the Court, and to respond to any written or oral statements made by the
Court, by Defendant or his counsel.

12. Defendant understands that the forfeiture of property will be part of the sentence
imposed in this case and agrees to the forfeiture of all property encompassed in the charging
instrument’s Forfeiture Allegation.

The defendant stipulates to the requisite nexus between conduct underlying the offense of
conviction and the following property, which the defendant stipulates is proceeds obtained from
his conduct underlying his offense of conviction, or is property that facilitated that conduct:
$1,514.00 in United States Currency.

Defendant hereby waives all interest in any property subject to this plea agreement in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state or federal. By
signing this agreement Defendant hereby withdraws any claim the defendant may have filed in
any administrative forfeiture action and agrees to the entry of a Declaration of Forfeiture.
Defendant also agrees to consent to the entry of orders of forfeiture for such property and waives
the requirements of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the
forfeiture in the charging instrument, the announcement of the forfeiture at sentencing, and the
incorporation of the forfeiture in the judgment. Defendant agrees to take all steps as requested by
the United States to pass clear title to forfeitable assets to the United States, and to testify truthfully
in any judicial forfeiture proceeding.

Defendant also waives all constitutional and statutory challenges in any manner
(including direct appeal, habeas corpus, or any other means) to any forfeiture carried out in
accordance with this plea agreement on any grounds, including that the forfeiture constitutes an
excessive fine or punishment. Defendant further waives any failure by the Court to advise
Defendant of the applicable forfeiture at the time the guilty plea is accepted as required by Rule

11(b)(1)J).

Defendant agrees to forfeit and abandon any right to any and all evidence and property
seized during the course of this investigation (including but not limited to any item subject to
forfeiture), and waives any right to seek the return of any property pursuant to Fed. R. Crim. P.
41 or otherwise. Defendant understands and agrees that items seized during the course of this
investigation will be destroyed or otherwise disposed of by the seizing law enforcement agency.

13. | The defendant agrees that all monetary penalties imposed by the Court will be due
and payable immediately and subject to immediate enforcement by the United States as provided
in 18 U.S.C. § 3613. Furthermore, the defendant agrees to provide all requested financial

ale Cn AED (2bEoe0

 

 

 

Allen Craig, Defendant Date
A. —— 4-2- DZo
Kirk Bottner, Esq.” Date
Case 3:19-cr-00017-GMG-RWT Document 308 Filed 01/24/20 Page 6 of 7 PagelD #: 1045

Case 3:19-cr-00017-GMG-RWT Document 286 Filed 01/08/20 Page 6 of 7 PagelD #: 948

information to the United States and the U.S. Probation Office, and agrees to participate in a pre-
sentencing debtor examination if requested by the U.S. Attorney’s Office. The defendant also
authorizes the Financial Litigation Unit in the U.S. Attorney’s Office to access the defendant’s
credit report from any major credit reporting agency prior to sentencing in order to assess his
financial condition for sentencing purposes. The defendant agrees to complete a financial
statement, under penalty of perjury, and to submit the financial statement on the date specified and
in accordance with instructions provided by the U.S. Attorney’s Office. The defendant further
agrees that any schedule of payments imposed by the Court represents the defendant’s minimal
financial obligation and shall not constitute the only method available to the United States to
enforce or collect any criminal monetary penalty judgment. If the defendant is sentenced to a
period of incarceration, the defendant agrees to participate in the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, even if the Court does not specifically direct participation. In

addition, the defendant agrees that the United States, through the Financial Litigation Unit, may
submit any unpaid criminal monetary penalty to the United States Treasury for offset in accordance
with the Treasury Offset Program, regardless of the defendant’s payment status or history at that
time.

In order to pay any outstanding criminal monetary penalties, the defendant agrees to a
voluntary garnishment of 25% of all nonexempt net disposable earnings from any job or
employment, to be withheld from his wages, salary or commissions, without prior demand for
payment under the Federal Debt Collection Procedures Act, 28 U.S.C. § 3205. The defendant
hereby also waives any exceptions that may be applicable under the Consumer Credit Protection
Act, 15 U.S.C. § 1673.

14. Defendant understands that the United States Sentencing Guidelines are now
advisory and no longer mandatory. It is therefore understood that the sentencing court may
ascertain and impose a sentence below or above the applicable Guideline range, so long as that
sentence is reasonable and within the statutory maximum specified in Title 18 of the United States
Code for the offenses of conviction.

15, If Defendant’s plea is not accepted by the Court or is later set aside or if he breaches

any part of this Agreement, then the Office of the United States Attorney will have the right to
withdraw any sentencing recommendations and/or to void this Agreement.

BA Oy. 2 Jah 2020

 

 

 

 

Allen Craig, Defendant ~°~ Date
LSE Z- 2- 2020
Kirk Bottner, EQ. 7 Date
Case 3:19-cr-00017-GMG-RWT Document 308 Filed 01/24/20 Page 7 of 7 PagelD #: 1046

Case 3:19-cr-00017-GMG-RWT Document 286 Filed 01/08/20 Page 7 of 7 PagelD #: 949

16. | The above fifteen (15) paragraphs constitute the entire agreement between
Defendant and the United States of America in this matter. There are no agreements,
understandings, or promises between the parties other than those contained in this
Agreement.

Very truly yours,

WILLIAM J. POWELL
United States Attorney

By: Ryda vehian

Special Assistant United States Attorney

As evidenced by my signature at the bottom of the seven (7) pages of this letter agreement, I have
read and understand the provisions of each paragraph herein and, hereby, fully approve of each

 

 

 

 

provision.
Cae 2 / Zs KE. Ze
Allen Craig, Defendant Date
AG se (°@-Z86O
Kirk Bottner, Esq. <-~ Date
